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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SYCAMORE PETROLEUM-KC OIL, LLC, : CIVIL ACTION
SYCAMORE ENERGY-KC OIL, LLC and
STERLING FUELS & LOGISTICS, LLC,

Plaintiffs1
NO. lS-CV-00396

V.

KC OIL, INC., GREENWOOD
ENTERPRISES, INC., BUCKS COUNTY
PETROLEUM, LLC, TRENTON
PETROLEUM, INC., CREIGHTON
FAMILY PROPERTIES, L.P., JAN
CREIGHTON and KIMBERLY
CREIGHTON,

Defendants.

 

DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’
SECOND AMENDED COMPLAINT AND COUNTERCLAIM

Defendants, by and through their attorneys, Weber Gallagher Simpson Stapleton Fires &
Newby LLP, hereby answer Plaintiffs’ Second Amended Complaint as follows:
NATURE OF THE CASE
l. Neither admitted nor denied as the documents speak for themselves.
2. Denied. By Way of further answer, Defendants are Without knowledge or information
sufficient to form a belief as to Which components of the transaction, if any, Sycamore believed

Was “critieal.”

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3. Denied. By way of further answer, Defendants are without knowledge or information
sufficient to form a belief as to which components of the transaction, if any, Sycamore believed

was “critical.”

4. Neither admitted nor denied as the documents speak for themselves
5. Denied.
6. Denied.
7. Denied.
8. Denied.
9. Denied

lO. Defendants admit that Sycamore has filed this action. The Complaint speaks for itself.
ll. Defendants are without knowledge or information sufficient to form a belief as to the
truth of the allegations of this paragraph

12. Defendants are without knowledge or information sufficient to form a belief as to the
truth of the allegations of this paragraph.

13. Defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph

14. Admitted, except as to principal place of business or “nerve center”.
15. Admitted, except as to principal place of business or “nerve center”.
l6. Admitted, except as to principal place of business.

l7. Admitted, except as to principal place of business or “nerve center”.
18. Admitted, except as to principal place of business.

19. Admitted, except as to domicile.

20. Admitted, except as to domicile.

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JURISDICTION AND VENUE
21. Defendants are without knowledge or information sufficient to form a belief as to the
truth of the allegation By way of further answer, paragraph 21 states a conclusion of law as to
which no response is required
22. The first sentence is neither admitted nor denied as the documents speak for themselves
The second sentence is neither admitted nor denied as it calls for a legal conclusion
23. Neither admitted nor denied as the documents speak for themselves and call for a legal
conclusion

FACTUAL ALLEGATIONS

24. Neither admitted nor denied as the documents speak for themselves By way of further
answer, Plaintiffs were not parties to the Petroleum Agreement. Sycamore Petroleum, LLC was a
party to the Petroleum Agreement.
25. lt is admitted that copy of the Petroleum Agreement is attached to the Second Amended
Complaint.
26. Neither admitted nor denied as the documents speak for themselves
27. Admitted, except that the Note speaks for itself.
28. Denied. By way of further answer, Defendants are without knowledge or information
sufficient to form a belief as to what Sycamore Petroleum, LLC believed was the “key
component” of the transaction and purchase price.
29. Defendants admit only that this paragraph accurately quotes a select portion of Section
5.2(s) of the Agreement.
30. Defendants admit that this paragraph accurately quotes a select portion of Section 7.2(a)

of the Agreement.

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31 . Denied.

32. Denied. By way of further answer, this allegation does not state when this representation
was allegedly made.

33. Denied. By way of further answer, this allegation does not state when this representation
was allegedly made.

34. Denied. By way of further answer, this allegation does not state when this representation
was allegedly made.

35. Admitted that one transaction closed on January 30, 2012.

36. Denied.

37. Denied.

3 8. Admitted.

39. No response is required to paragraph 39 insofar as the Sellers’ records speak for
themselves

40. No response is required to paragraph 40 insofar as the Sellers’ records speak for
themselves

4l. Denied.

42. Denied.

43. Denied.

44. Denied.

Tank Wagon Deliverv Agreement
45. Neither admitted nor denied as the documents speak for themselves By way of further
answer, Plaintiffs were not parties to the Petroleum Agreement. Sycamore Energy, LLC was a

party to the Tank Wagon Agreement.

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46. Denied.

47. Denied.

48. Admitted that Sycamore gave Seller’s a promissory note in the amount of $1,000,000.
With respect to the remainder of the allegations, the Notes speak for themselves

49. Denied. By way of further answer, Defendants are without knowledge or information
sufficient to form a belief as to what Sycamore Energy, LLC believed was the “key component”

of the transaction and purchase price.

50. Neither admitted nor denied as the documents speak for themselves
51. Neither admitted nor denied as the documents speak for themselves
52. Neither admitted nor denied as the documents speak for themselves
53. Neither admitted nor denied as the documents speak for themselves
54. Neither admitted nor denied as the documents speak for themselves

55. Admitted.

56. Denied.
57. Denied.
58. Denied.
59. Denied.
60. Denied.

COUNT I-BREACH OF CONTRACT/PE'[`RULEUM AG`REEMENT
61. Defendants incorporate their responses to the preceding paragraphs of the complaint as if
set forth at length herein.
62. Admitted.

63. Neither admitted nor denied as the documents speak for themselves

64.

65.

66.

67.

68.

69.

70.

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Neither admitted nor denied as the documents speak for themselves
Denied.
Denied.
Denied.
Denied
Denied.
Denied.

WHEREFORE, Defendants respectfully request that Plaintiffs’ request for relief be

denied and that Plaintiffs’ complaint be dismissed

COUNT II- BREACH OF CONTRACT/TANK WAGON DELIVERY AGREEMENT

7l.

Defendants incorporate their responses to the preceding paragraphs of the complaint as if

set forth at length herein.

72.

73.

74.

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80.

Admitted.

Neither admitted nor denied as the documents speak for themselves
Neither admitted nor denied as the documents speak for themselves
Neither admitted nor denied as the documents speak for themselves
Neither admitted nor denied as the documents speak for themselves
Denied.

Denied.

Denied.

Denied.

WHEREFORE, Defendants respectfully request that Plaintiffs’ request for relief be

denied and that Plaintiffs’ complaint be dismissed

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COUNT IlI- UNJUST ENRICHMENT

81. Defendants incorporate their responses to the preceding paragraphs of the complaint as if
set forth at length herein
82. Denied. Defendants are without knowledge or information sufficient to form a belief as to

what Sycamore Energy, LLC means by the terms “approximately.”

83. Denied.
84. Denied.
85. Denied.
86. Denied.
87. Denied.

WHEREFORE, Defendants respectfully request that Plaintiffs’ request for relief be

denied and that Plaintiffs’ complaint be dismissed

 

AFFIRMATIVE DEFENSES
l. Plaintiff s claims are barred because the statute of limitations has expired on all of
Plaintiffs’ claims
2. Plaintiffs’ claims are barred by the gist of the action doctrine because the

Complaint sounds in tort, namely misrepresentation

3. The Complaint does not state a cause of action for breach of contract.

4. Plaintiffs are not parties to the Petroleum Agreement and/or the Tank Wagon
Delivery Agreement and lack standing to sue thereon

5. Plaintiffs are not third-party beneficiaries of the Petroleum Agreement and/or the

Tank Wagon Delivery Agreement and lack standing to sue thereon

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6. To the extent that Plaintiffs claim a right to bring an action on the agreements as
assignees of Sycamore Petroleum, LLC’s and/or Sycamore Energy, LLC’s rights under the
agreements, said assignments were in violation of Section 8.5 of the Petroleum Agreement and
Section 8.5 of the Tank Wagon Delivery Agreement and were therefore null, void, and invalid

7. All sales and volume data provided to Sycamore Petroleum, LLC and/or
Sycamore Energy, LLC by Defendants was accurate and complete

8. To the extent that sales data provided by Defendants was not complete and/or
accurate, which is specifically denied, any variance was not material to the transactions

9. Plaintiffs’ claimed consequential damages are not recoverable as they were not
within the contemplation of the parties at the time the agreements were made.

10. To the extent Plaintiffs conferred a benefit on Defendants, which is denied,
Defendants’ retention of such benefit is not inequitable

ll. Plaintiffs’ demand for attorney’s fees and costs of suit fails to state a claim on
which relief can be granted

12. ln the alternative, Plaintiffs’ claim for unjust enrichment is barred because the

transactions at issue are subject to express contracts

l3. There was no breach of Section 5.2(8) of the Petroleum Agreement.
l4. The Complaint fails to state a cause of action upon which relief may be granted
15. The Complaint fails to state a cause of action with enough particularity to permit

the Defendants to respond

16. This action is barred by the doctrines of estoppel, waiver and/or laches
l7. This action is barred by the doctrine of unclean hands
18. The Complaint fails to join indispensable parties to the action

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l9.

The Complaint is barred by the contributory and/or comparative negligence of

Plaintiff or its agents

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25.

26.

There is no privity between Plaintiffs and Defendants

Plaintiffs assumed the risk of the harm that is the subject of the claim.

Plaintiffs’ claims are barred by the statute of frauds and/or the parol evidence rule.
Plaintiffs’ claims are barred because they failed to mitigate damages

Plaintiffs’ claims are barred due to evidence spoliation

Plaintiffs’ claims are barred because the claimed damages are speculative

Defendants were guilty of no negligence, which was the proximate cause of any

injuries and damages alleged by Plaintiffs

27.

Defendants incorporate herein all defenses which may be asserted by any third

party defendant hereinafter joined

COUNTERCLAIM

COUNT I-- KC OIL, INC. v. SYCAMORE PETROLEUM-KC OIL1 LLC

KC Oil, Inc. (“Counterclaim Plaintiff”), for its counterclaim against Sycamore

Petroleum-KC Oil, LLC, alleges as follows

l.

As part of the consideration paid for the sale of the assets under the Petroleum

Agreement, as described in the Complaint, Sycamore Petroleum-KC Oil, LLC executed a

Promissory Note on January 30, 2012 in favor of Counterclaim Plaintiff in the original

principal amount of $750,0()0 (the “$750,000 Note”). A true and correct copy of the

$750,000 Note executed by Sycamore Petroleum-KC Oil, LLC is attached hereto as

Exhibit “A”.

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2. This $750,000 Note requires Sycamore Petroleum-KC Oil, LLC to make 120 equal
monthly payments each the amount of $8326.54, commencing March l, 2012.

3. Sycamore Petroleum-KC Oil, LLC failed to make the monthly installment payment due
under the $750,000 Note on January l, 2015 or on any month thereafter and they are in
default thereunder.

4. The amount owed by Sycamore Petroleum-KC Oil, LLC to Counterclaim Plaintiff as of
May 14, 2015, is $771,155.49, which includes the principal balance 0f$599,510.88,
interest through May 14, 2015 of$l34,922.92, and late charges of $36,721 .69. Interest
accrues on the $750,000 Note from and after May 14, 2015 at the per diem rate of
$273.74.

WHEREFORE, Plaintiff demands that judgment be entered in favor of Counterclaim
Plaintiff and against Sycamore Petroleum-KC Oil, LLC in the amount of $771 ,1 55.49, plus
interest from and after May 14, 2015 at the per diem rate of $273.74, as well as additional late
charges, and such other relief as the court may deem just and appropriate

COUNT II-- KC OILLINC. v. SYCAMORE ENERGY-KC OIL, LLC

 

KC Oil, Inc. (“Counterclaim Plaintiff”), for its counterclaim against Sycamore Energy-
KC Oil, LLC, alleges as follows
5. As part of the consideration paid for the sale of the assets under the Tank Wagon
Agreement, as described in the Complaint, Sycamore Energy-KC Oil, LLC executed a
Promissory Note on January 31, 2012 in favor of Counterclaim Plaintiff in the original
principal amount of $l ,000,000 (the “$1,000,000 Note”). A true and correct copy of the

$1,000,000 Note executed by Sycamore Energy-KC Oil, LLC is attached hereto as

10

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Exhibit “B”. This $1,000,000 Note requires Sycamore Energy-KC Oil, LLC to make 120
equal monthly payments each the amount of $l 1,102.05, commencing March 1, 2012.

6. Sycamore Energy-KC Oil, LLC failed to make the monthly installment payment due
under the $1,000,000 Note on January l, 2015 or on any month thereafter and they are in
default thereunder.

7. The amount owed by Sycamore Energy-KC Oil, LLC to Counterclaim Plaintiff as of May
14, 2015, is fl`>992,527.587 which includes the principal balance of $764,952.79, interest
through May 14, 2015 of3180,311.57, and late charges of $47,263.22. Interest accrues
on the $1,000,000 Note from and after May 14, 2015 at the per diem rate Of $364.99.
WHEREFORE, Plaintiff demands that judgment be entered in favor of Counterclaim

Plaintiff and against Sycamore Energy-KC Oil, LLC in the amount of $992,527.58, plus interest
from and after May 14, 2015 at the per diem rate of $364.99, as well as additional late charges,
and such other relief as the court may deem just and appropriate
COUNT III-- KC OIL, INC. v. SYCAMORE ENERGY-KC OIL, LLC
KC Oil, Inc. (“Counterclaim Plaintiff”), for its counterclaim against Sycamore Energy-
KC Oil, LLC, alleges as follows:

8. As part of the consideration paid for the sale of the assets under the Tank Wagon
Agreement, as described in the Complaint, Sycamore Energy-KC Oil, LLC executed a
Promissory Note on January 31 , 2012 in favor of Counterclaim Plaintiff in the original
principal amount of $32,339.64 (the $32,339.64 Note”). A true and correct copy of the
$32,339.64 Note executed by Sycamore Energy-KC Oil, LLC is attached hereto as
Exhibit “C”. This $32,339.64 Note requires Sycamore Energy-KC Oil, LLC to make 120

equal monthly payments each the amount of $602.91 , commencing March l, 2012.

11

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Sycamore Energy-KC Oil, LLC failed to make the monthly installment payment due
under the 332,339.64 Note on January 1, 2015 or on any month thereafter and they are in
default thereunder.

WHEREFORE, Plaintiff demands that judgment be entered in favor of Counterclaim

Plaintiff and against Sycamore Energy~KC Oil, LLC in an amount to be determined and such

other relief as the court may deem just and appropriate

COUNT IV-- KC OIL, INC. v. SYCAMORE ENERGY-KC OIL, LLC

KC Oil, Inc. (“Counterclaim Plaintiff”), for its counterclaim against Sycamore Energy-

KC Oil, LLC, alleges as follows:

10.

11.

12.

As part of the consideration paid for the sale of the assets under the Tank Wagon
Agreement, as described in the Complaint, Sycamore Energy-KC Oil, LLC executed a
Promissory Note on January 31, 2012 in favor of Counterclaim Plaintiff in the original
principal amount of $24,609.27 (the $24,609.27 Note”). A true and correct copy of the
$24,609.27 Note executed by Sycamore Energy-KC Oil, LLC is attached hereto as
Exhibit “D”.

This $24,609.27 Note requires Sycamore Energy-KC Oil, LLC to make 120 equal
monthly payments each the amount of $502.23, commencing March 1, 2012.
Sycamore Energy-KC Oil, LLC failed to make the monthly installment payment due
under the $24,609.27 Note on January 1, 2015 or on any month thereafter and they are in
default thereunder.

WHEREFORE, Plaintiff demands that judgment be entered in favor of Counterclaim

Plaintiff and against Sycamore Energy-KC Oil, LLC in an amount to be determined and such

other relief as the court may deem just and appropriate

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COUNT V-- KC OIL, INC. v. SYCAMORE ENERGY-KC OIL, LLC

 

KC Oil, Inc. (“Counterclaim Plaintiff’), for its counterclaim against Sycamore Energy-

KC Oil, LLC, alleges as follows:

13. As part of the consideration paid for the sale of the assets under the Tank Wagon

Agreement, as described in the Complaint, Sycamore Energy-KC Oil, LLC executed a

Promissory Note on January 31, 2012 in favor of Counterclaim Plaintiff in the original

principal amount of $6,028.12 (the $6,028.12 Note”). A true and correct copy of the

$6,028.12 Note executed by Sycamore Energy-KC Oil, LLC is attached hereto as Exhibit

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14. This $6,028.12 Note requires Sycamore Energy-KC Oil, LLC to make 120 equal monthly

payments each the amount of $501.51, commencing March 1, 2012.

15. Sycamore Energy-KC Oil, LLC failed to make the monthly installment payment due

under the $6,028.12 Note on January 1, 2015 or on any month thereafter and they are in

default thereunder.

WHEREFORE, Plaintiff demands that judgment be entered in favor of Counterclaim

Plaintiff and against Sycamore Energy-KC Oil, LLC in an amount to be determined and such

ther relief as the court may deem just and appropriate

Dated: January 11, 2016

13

Respectfully submitted,

WEBER GALLAGHER SIMPSON
STAPLETON FIRES & NEWBY, LLP

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,/ ./
By: f 'Z- J\)////

PETER E. M'EL"J"‘zER, ESQUj`RE

  

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EXH|B|T "A"

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PROMISSORY NOTE

THIS lNS'l`RUl\/IENT IS SUBJECT TO THE TERMS OF A SUBORDINATION
AGREEMENT DATED JANUARY 30, 2012 IN FAVOR OF THE BANCORP BANK,
WHlCI-~I SUBORDINATION AGREEMENT IS INCORPORATED HEREIN BY
REFERENCE. NOVI`WITHS'I`ANDING ANY CONTRARY STATEMENT
CONTAINED IN THE WITHIN INSTRUMENT, NO PAYMENT ON ACCOUNT OF
THE PRINCIPAL OR INTEREST HEREOF SHALL BECOME DUE OR BE PAID
AND NO ACTIONS SHALL BE TAKEN HEREUNDER EXCEPT IN ACCORDANCE
WITH THE TERl\/IS OF SUCH SUBORDINATION AGREEMENT.

$750,000 Philadelphia, Pennsylvania

3 am \~Q § 0 2012 (“Efrecrive Dare”)

FOR VALUE RECEIVED, the undersigned, Sycamore Petroleum- KC Oil, LLC
(the “Maker”), pursuant to the terms of an Asset Purchase Agreement (“Purchase
Agreement”) entered into even date herewith between Maker and KC Oil, Inc. (the
“Payee”) and others, hereby promises to pay to Payee the principal sum of Seven
Hundred Fifty Thousand Dollars ($750,000) together with interest on the unpaid principal
balance from the Effective Date until paid at the annual rate of six percent (6%),
calculated in accordance with a ten year amortization rate

1. Payment Terms. The principal and interest Shall be payable in One
Hundred Twenty (120) monthly installments of principal and interest, amortized over a
ten year period Maker agrees to make One Hundred Twenty (120) equal monthly
payments calculated in the amount of Eight Thousand Three Hundred Twenty SixDollars
and fifty Four Cents ($8,326.54) each, the payment due and payable by electronic wire
transfer beginning on the first day of each calendar month following the date of this Note
and on the first day of each calendar month thereafter.

2. Prepayment. The Maker may prepay principal at any time in whole or in
part without penalty or notice; provided, however, that any such prepayment shall be
applied first to pay all accrued interest and thereafter to principal.

3. Events of Default. Each of the following shall constitute an “Event of
Default” hereunder:

(a) F ailure of the Maker to make any payment of principal or interest
when due after the Payee has given the Maker written notice of the delinquency, and said
delinquency continues for fifteen (15) days after the giving of such notice;

(b) Application for or consent to the appointment of a receiver, trustee
or liquidator by Maker for its assets;

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(c) Admission in writing by Maker of its inability to pay debts as they
mature;

(d) The making of a general assignment for the benefit of creditors by
Maker;

(e) Adjudication that Maker is bankrupt or insolvent;

(f) Filing by Maker of (i) a voluntary petition in bankruptcy; or (ii) a
petition or an answer seeking reorganization or an arrangement with creditors, or to take
advantage of any insolvency, readjustment of loan, dissolution or liquidation law or
statute; or (iii) an answer admitting the material allegations of a petition filed against
Maker in any proceeding under such law; or

(g) The entering of an order, judgment or decree, without the
application approval or consent of Maker by any court of competent jurisdiction
appointing a receiver, trustee`or liquidator for Maker, if such or'der, judgment or decree
shall continue unstayed and in effect for a period of sixty (60) days

4. Conseguence of Default. Upon the occurrence of an Event of Def`ault, the
Payee may, at the Payee's sole election and without prior notice to Maker, declare the
entire unpaid balance of principal under this Note and interest thereon to be immediately
due and payable

5. §ubordination. Maker has the right to off-set amounts due under the Note
against (i) Payee's environmental indemnification liabilities in accordance with the terms
of the Asset Purchase Agreement; and (2) liabilities of Payee arising from Seller's breach
of any representation Warranty, covenant or other agreement as to which Maker is
entitled to indemnification under the terms of the Asset Purchase Agreement, as

amended

6. Waiver. Except for notices expressly required herein the Maker waives
presentment for payment, demand, notice of dishonor, protest and notice of protest of this
Note and all other notices in connection with delivery, acceptance, performance, default
or enforcement of the payment of this Note Liability hereunder shall be unconditional
and shall not be affected in any manner by an indulgence, extension of time, renewal,
waiver or modification granted or consented to by Payee

7. Notices and Payments.

(a) All notices hereunder must be written Notices to the Maker shall
be deemed to be given when hand-delivered with a receipt, or mailed certified mail,
postage prepaid and return receipt requested, and addressed to Maker at 630 Skippack
Pike, Blue Bell, PA 19422, or to such other person or address as the Maker shall from
time to time designate by notice to the Payee at the address at which payments hereunder
are directed to be made

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(b) Payments of principal and interest shall be made to the Payee
electronically by Payee drafting from Maker"s bank account beginning on the first day of
each calendar month following the date of this Note and on the first day of each calendar
month thereafter until paid in full.

(c) Any payments or notices required herein which pursuant to the
terms of this Note shall be due on a Saturday, Sunday or federal government holiday shall
be considered timely if given or made on the next succeeding business day.

8. Late Fee. If any payment or installment of interest or principal due
hereunder is not paid within ten (10) days after the same becomes due (without reference
to any grace or cure periods set forth herein), then Maker shall pay to Payee a late charge
in an amount equal to five cents ($0.05) for every dollar of the overdue surn, in order to
reimburse Payee for the costs and expenses of handling such delinquent payrnent.
Neither the imposition nor the collection of such late charge shall constitute Payee’s
waiver of any default or Event of Default of Maker hereunder, and shall be in addition to
and not in lieu of any other rights and remedies which may be available to Payee
hereunder, Such late charge, if not paid by Maker, shall, at the option of Payee, be added
to and become part of the outstanding principal balance of this Note.

9. Governing Law. This Note shall be governed by the laws of the State of
New Jersey, without giving effect to the principles of conflict of laws

10. Guaranty. This Note shall be guaranteed by Kenneth C. Morrison
pursuant to the terms of the Guaranty attached hereto.

IN WITNESS WHEREOF, and intending to be legally bound, the Maker has duly
executed this Note on the day and year first above written

ATTEST: SYCAMORE PETROLEUM- KC OIL, LLC

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Print

 

Date: \ " b 0 >_ \B __

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EXH|B|T "B"

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PROMISSORY NOTE

$1,000,000 Pennington, New Jersey

January 31, 2012 (_“Effective Date”)

FOR VALUE RECEIVED, the undersigned, Sycamore Energy~KC Oil, LLC (the
“l\/laker”), pursuant to the terms of an Asset Purchase Agreement, as amended by the
First Amendment to Asset Purchase Agreement dated Deceinber 22, 2011 and the Second
Amendment to Asset Purchase Agreement dated January 31, 2012 (the Asset Purchase
Agreement, as amcnded, hereinafter referred to as the “Purchase Agreement”) entered
into between Maker and KC Oil, Inc. (the “Payee”), hereby promises to pay to Payee the
principal sum of One l\/lillion Dollars ($1,000,000) together with interest on the unpaid
principal balance from the Effective Date until paid at the annual rate of six percent (6%),
calculated in accordance with a ten year amortization rate

1. Payment Terms The principal and interest shall be payable in One
Hundred Twenty (120) monthly installments of principal and interest, amortized over a
ten year period Maker agrees to make One Hundred Twenty (120) equal monthly
payments calculated in the amount of Eleven Thousand One Hundred Two Dollars and
Five Cents ($11,102.05) each, the payment due and payable by electronic wire transfer
beginning on the first day of each calendar month following the date of this Note and on
the first day of each calendar month thereafter

2. Prepayment. The Maker may prepay principal at any time in whole or in
part without penalty or notice; provided, however, that any such prepayment shall be
applied first to pay all accrued interest and thereafter to principal.

3. Events of _D_efault. Each of the following shall constitute an “Event of
Default” hereunder:

(a) F ailure of the Maker to make any payment of principal or interest
when due after the Payee has given the Maker written notice of the delinquency, and said
delinquency continues for fifteen (15) days after the giving of such notice;

(b) Application for or consent to the appointment of a receiver, trustee
or liquidator by Maker for its assets;

(c) Admission in writing by Maker of its inability to pay debts as they
mature;

(d) The making of a general assignment for the benefit of creditors by
Maker;

(e) Adjudication that Maker is bankrupt or insolvent;

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(f) Filing by Maker of (i) a voluntary petition in bankruptcy; or (ii) a
petition or an answer seeking reorganization or an arrangement with creditors, or to take
advantage of any insolvency, readjustment of loan dissolution or liquidation law or
statute; or (iii) an answer admitting the material allegations of a petition filed against
Maker in any proceeding under such law; or

(g) The entering of an order, judgment or decree, without the
application approval or consent of Maker by any court of competent jurisdiction
appointing a receiver, trustee or liquidator for Maker, if such order, judgment or decree
shall continue unstayed and in effect for a period of sixty (60) days

4. Conseguencc of Default. Upon the occurrence of an Event of Default, the
Payee may, at the Payee's sole election and without prior notice to Maker, declare the
entire unpaid balance of principal under this Note and interest thereon to be immediately
due and payable

5. Set-Off. Maker has the right to off-set amounts due under the Note against
(a) liabilities of Payee arising from Payee’s failure to pay New Jersey taxes, including
interest, penalties, and (b) expenses incurred by Maker in defending claims made against
Maker by the State of New Jersey arising from Payee’s failure to pay such taxes

 

6. Waiver. Except for notices expressly required herein the Maker waives
presentment for payment, demand, notice of dishonor, protest and notice of protest of this
Note and all other notices in connection with delivery, acceptance, performance, default
or enforcement of the payment of this Note Liability hereunder shall be unconditional
and shall not be affected in any manner by an indulgence, extension of time, renewal,
waiver or modification granted or consented to by Payee.

7. Notices and Payments.

(a) All notices hereunder must be written Notices to the Maker shall
be deemed to be given when hand-delivered with a receipt, or mailed certified inail,
postage prepaid and return receipt requested, and addressed to Maker at 630 Skippack
Pike, Blue Bell, PA 19422, or to such other person or address as the Maker shall from
time to time designate by notice to the Payee at the address at which payments hereunder
are directed to be made

(b) Payments of principal and interest shall be made to the Payee
electronically by Payee drafting from Maker’s bank account beginning on the first day of
the first calendar month following the date of this Note and on the first day of each
calendar month thereafter until paid in full.

(c) Any payments or notices required herein which pursuant to the
terms of this Note shall be due on a Saturday, Sunday or federal government holiday shall
be considered timely if given or made on the next succeeding business day.

8. Late Fee. If any payment or installment of interest or principal due
hereunder is not paid Within ten (10) days after the same becomes due (without reference

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to any grace or cure periods set forth herein), then Maker shall pay to Payee a late charge
in an amount equal to five percent of the overdue sum, in order to reimburse Payee for
the costs and expenses of handling such delinquent payment Neither the imposition nor
th'e collection of such late charge shall constitute Payee’s waiver of any default or Event
of Default of Maker hereunder, and shall be in addition to and not in lieu of any other
rights and remedies which may be available to Payee hereunder. Such late charge, if not
paid by Maker, shall, at the option of Payee, be added to and become part of the
outstanding principal balance of this Note.

9. Governing Law. This Note shall be governed by the laws of the State of
New Jersey, without giving effect to the principles of conflict of laws

10. Guaranty. This Note shall be guaranteed by Kenneth C. Morrison
pursuant to the terms of the Guaranty attached hereto.

IN WITNESS WHEREOF, and intending to be legally bound, the Maker has duly

executed this Note on the day and year first above written

ATTEST: SYCAMORE ENERGY- KC OIL, LLC

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PROMISSORY NOTE
(PNC)

$32,3 3 9.64 Ph.iladelphia, Pennsylvania

§§ we *§ _?s\ ,_ 2012 (“Effective Date”)

FOR VALUE RECEIVED, the undersigned, Sycamore Energy~KC Oil, LLC
(the “Maker”), pursuant to the terms of an Asset Purchase Agreement (“Purchase
Agreement”) entered into November 14, 2011 among Maker, KC Oil, Inc. (the “Payee”)
and others, as amended by the First Amendment to Asset Purchase Agreement dated
December 22, 2011, and the Second Amendment to Asset Purchase Agreement dated
January 30, 2012, hereby promises to pay to Payee the principal sum of Thirty Two
Thousand Three Hundred Thirty Nine Dollars and Sixty Four Cents ($32,339.64)
together with interest on the unpaid principal balance from the Effective Date until paid
at the annual rate of four and one half percent (4,5%), calculated in accordance with a
five year amortization rate.

1. Payment Terms The principal and interest shall be payable in Sixty (60)
monthly installments of principal and interest, amortized over a five year period Maker
agrees to make Sixty (60) equal monthly payments calculated in the amount of Six
Hundred Two Dollars and Ninety One Cents ($602.91) each (“Monthly Payment”), the
Monthly Payment due and payable by electronic draft by Payee from Maker’s bank
account beginning on the first day of each calendar month following the date of this Note
and on the first day of each calendar month thereafter

2. Prepayment. The Maker may prepay principal at any time in whole or in
part without penalty or notice; provided, however, that any such prepayment shall be
applied first to pay all accrued interest and thereafter to principal.

3. Events of Default. Each of the following shall constitute an “Event of
Default” hereunder:

(a) F ailure of the Maker to make any payment of principal or interest
when due after the Payee has given the Maker written notice of the delinquency, and said
delinquency continues for fifteen (15) days after the giving of such notice;

(b) Application for or consent to the appointment of a receiver, trustee
or liquidator by Maker for its assets;

(c) Admission in writing by Maker of its inability to pay debts as they
mature;

(d) The making of a general assignment for the benefit of creditors by
Maker;

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(e) Adjudication that Maker is bankrupt or insolvent;

(l) Filing by Maker of (i) a voluntary petition in bankruptcy; or (ii) a
petition or an answer seeking reorganization or an arrangement with creditors or to take
advantage of any insolvency, readjustment of loan dissolution or liquidation law or
statute; or (iii) an answer admitting the material allegations of a petition filed against
Maker in any proceeding under such law; or

(g) The entering of an order, judgment or decree, without the
application approval or consent of Maker by any court of competent jurisdiction
appointing a receiver, trustee or liquidator for Maker, if such order, judgment or decree
shall continue unstayed and in effect for a period of sixty (60) days

4. Conse_quenee of Default. Upon the occurrence of an Event of Default, the
Payee may, at the Payee's sole election and without prior notice to Maker, declare the
entire unpaid balance of principal under this Note and interest thereon to be immediately
due and payable

5. Waiver. Except for notices expressly required herein the Maker waives
presentment for payment, demand, notice of dishonor, protest and notice of protest of this
Note and all other notices in connection with delivery, acceptance, performance, default
or enforcement of the payment of this Note Liability hereunder shall be unconditional
and shall not be affected in any manner by an indulgence, extension of time, renewal,
waiver or modification granted or consented to by Payee

6. Notices and Payments

(a) All notices hereunder must be written Notices to the Maker shall
be deemed to be given when hand-delivered with a receipt, or mailed certified mail,
postage prepaid and return receipt requested, and addressed to Maker at 630 Skippack
Pike, Blue Bell, PA 19422, or to such other person or address as the Maker shall from
time to time designate by notice to the Payee at the address at which payments hereunder
are directed to be made

(b) Payments of principal and interest shall be made to the Payee
electronically by allowing Payee to electronically draft the Monthly Payment from
Maker’s bank account.

(c) Any payments or notices required herein which pursuant to the
terms of this Note shall be due on a Saturday, Sunday or federal government holiday shall
be considered timely if given or made on the next succeeding business day.

7. Late Fee. If any payment or installment of interest or principal due
hereunder is not paid within ten (10) days after the same becomes due (without reference
to any grace or cure periods set forth herein), then Maker shall pay to Payee a late charge
in an amount equal to five per cent (5%) for every dollar of the overdue sum, in order to
reimburse Payee for the costs and expenses of handling such delinquent payment.
Neither the imposition nor the collection of such late charge shall constitute Payee’s

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waiver of any default or Event of Default of Maker hereunder, and shall be in addition to
and not in lieu of any other rights and remedies which may be available to Payee
hereunder. Such late charge, if not paid by Maker, shall, at the option of Payee, be added
to and become part of the outstanding principal balance of this Note.

8. Governing Law. This Note shall be governed by the laws of the State of
New Jersey, without giving effect to the principles of conflict of laws

9. .Guaranty. This Note shall be guaranteed by Kennetli C. Morrison
pursuant to the terms of the Guaranty attached hereto.

IN WITNESS WHEREOF, and intending to be legally bound, the Maker has duly

executed this Note on the day and year first above written

ATTEST: SYCAMORE ENERGY-KC OIL, LLC

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PROMISSORY NOTE
(Ally)

$24,609.27 Philadelphia, Pennsylvania

M 2012 (“Effective Dare”)

FOR VALUE RECEIVED, the undersigned Sycamore Energy-KC Oil, LLC
(the “Maker”), pursuant to the terms of an Asset Purchase Agreement (“Purchase
Agreement”) entered into November 14, 2011 among Maker, KC Oil, Inc. (the “Payee”)
and others as amended by a First Amendment to Asset Purchase Agreement dated
December 22, 2011 and a Second Amendment to Asset Purchase Agreement dated
January 30, 2012, hereby promises to pay to Payee the principal sum of Twenty Four
Thousand Six Hundred Nine Dollars and Twenty Seven Cents ($24,609.27) with no
interest on the unpaid principal balance from the Eff`ective Date until paid with a Forty
Nine month amortization rate

1. Pament Terms. The principal shall be payable in Forty Nine (49)
monthly installments of principal only, amortized over a Forty Nine Month period Maker
agrees to make Forty Nine (49) equal monthly payments calculated in the amount of
Five Hundred and Two Dollars and Twenty Three Cents ($502.23 each (“Monthly
Payment”), the Monthly Payment due and payable by electronic draft by Payee from
Maker’s bank account beginning on the first day of each calendar month following the
date of this Note and on the first day of each calendar month thereafter.

2. Prepayment. The Maker may prepay principal at any time in whole or in
part without penalty or notice

3. Events of Default. Each of the following shall constitute an “Event of
Default” hereunder:

(a) Failure of the Maker to make any payment of principal when due
after the Payee has given the Maker written notice of the delinquency, and said
delinquency continues for fifteen (15) days after the giving of such notice;

(b) Application for or consent to the appointment of a receiver, trustee
or liquidator by Maker for its assets;

(c) Admission in Writing by Maker of its inability to pay debts as they
mature;

(d) The making of a general assignment for the benefit of creditors by
Maker;

(e) Adjudication that Maker is bankrupt or insolvent;

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(D Filing by Maker of (i) a voluntary petition in bankruptcy; or (ii) a
petition or an answer seeking reorganization or an arrangement with creditors or to take
advantage of any insolvency, readjustment of loan dissolution or liquidation law or
statute; or (iii) an answer admitting the material allegations of a petition filed against
Maker in any proceeding under such law; or

(g) The entering of an order, judgment or decree, without the
application approval or consent of Maker by any court of competent jurisdiction
appointing a receiver, trustee or liquidator for Maker, if such order, judgment or decree
shall continue unstayed and in effect for a period of sixty (60) days

4. Conseguence of Default. Upon the occurrence of an Event of Default, the
Payee may, at the Payee's sole election and without prior notice to Maker, declare the
entire unpaid balance of principal under this Note to be immediately due and payable

5. Waiver. Except for notices expressly required herein the Maker waives
presentment for payment, demand, notice of dishonor, protest and notice of protest of this
Note and all other notices in connection with delivery, acceptance, performance default
or enforcement of the payment of this Note. Liability hereunder shall be unconditional
and shall not be affected in any manner by an indulgence, extension of time, renewal,
waiver or modification granted or consented to by Payee

6. Notices and Payments.

(a) All notices hereunder must be written Notices to the Maker shall
be deemed to be given when hand-delivered with a receipt, or mailed certified mail,
postage prepaid and return receipt requested, and addressed to Maker at 630 Skippack
Pike, Blue Bell, PA 19422, or to such other person or address as the Maker shall from
time to time designate by notice to the Payee at the address at which payments hereunder
are directed to be made

(b) Payments of principal shall be made to the Payee electronically by
allowing Payee to electronically draft the Monthly Payment from Maker’s bank account.

(c) Any payments or notices required herein which pursuant to the
terms of this Note shall be due on a Saturday, Sunday or federal government holiday shall
be considered timely if given or made on the next succeeding business day.

7. Late Fee. If any payment or installment of principal due hereunder is not
paid within ten (10) days after the same becomes due (without reference to any grace or
cure periods set forth herein), then Maker shall pay to Payee a late charge in an amount
equal to five percent of the overdue sum, in order to reimburse Payee for the costs and
expenses of handling such delinquent payment Neither the imposition nor the collection
of such late charge shall constitute Payee’s waiver of any default or Event of Default of
Maker hereunder, and shall be in addition to and not in lieu of any other rights and
remedies which may be available to Payee hereunder. Such late cliarge, if not paid by
Maker, shall, at the option of Payee, be added to and become part of the outstanding
principal balance of this Note

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8. Governing Law. This Note shall be governed by the laws of the State of
New Jersey, without giving effect to the principles of conflict of laws

9. Guaranty. This Note shall be guaranteed by Kenneth C. Morrison
pursuant to the terms of the Guaranty attached hereto.

IN WITNESS WHEREOF, and intending to be legally bound, the Maker has duly

executed this Note on the day and year first above written

ATFEST: SYCAMORE ENERGY-KC OIL, LLC

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Date: //3%2/
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PROMISSORY NOTE
(KIA Motors)

$6028. 12 Philadelphia, Pennsylvania

§ M\NQ h?>\ 2012 (“Effective Date”)

FOR VALUE RECEIVED, the undersigned, Sycamore Energy-KC Oil, LLC
(the “Maker”), pursuant to the terms of an Asset Purchase Agreement (“Purchase
Agreement”) entered into November 14, 2011 among Maker, KC Oil, Inc. (the “Payee”)
and others as amended by the First Amendment to Asset Purchase Agreement dated
December 22, 2011, and the Second Amendment to Asset Purchase Agreement dated
January 30, 3012, hereby promises to pay to Payee the principal sum of Six Thousand
Twenty Eight Dollars and Twelve Cents ($6028.12) Without interest from the Effective
Date until paid in accordance with a five year amortization rate

l. Payment Terms The principal shall be payable in Twenty Four (24)
monthly installments of principal amortized over a two year period Maker agrees to
make Twenty Four (24) equal monthly payments calculated in the amount of Five
Hundred One Hundred Dollars and Fifty One Cents ($501.51) each (“Monthly
Payment”), the Monthly Payment due and payable by electronic draft by Payee from
Maker’s bank account beginning on the first day of each calendar month following the
date of this Note and on the first day of each calendar month thereafter.

2. Prepayment. The Maker may prepay principal at any time in whole or in
part without penalty or notice

3. Events of Default. Each of the following shall constitute an “Event of
Default” hereunder:

(a) Failui'e of the Maker to make any payment of principal when due
after the Payee has given the Maker written notice of the delinquency, and said
delinquency continues for fifteen (15) days after the giving of such notice;

(b) Application for or consent to the appointment of a receiver, trustee
or liquidator by Maker for its assets;

(c) Admission in writing by Maker of its inability to pay debts as they
mature;

(d) The making of a general assignment for the benefit of creditors by
Maker;

(e) Adj udication that Maker is bankrupt or insolvent;

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(f) Filing by Maker of (i) a voluntary petition in bankruptcy; or (ii) a
petition or an answer seeking reorganization or an an‘angement with creditors or to take
advantage of any insolvency, readjustment of loan, dissolution or liquidation law or
statute; or (iii) an answer admitting the material allegations of a petition filed against
Maker in any proceeding under such law; or

(g) The entering of an order, judgment or decree, without the
application approval or consent of Maker by any court of competent jurisdiction
appointing a receiver, trustee or liquidator for Maker, if such order, judgment or decree
shall continue unstayed and in effect for a period of sixty (60) days

4. Conseguence of Default. Upon the occurrence of an Event of Default, the
Payee may, at the Payee's sole election and without prior notice to Maker, declare the
entire unpaid balance of principal under this Note to be immediately due and payable

5. Waiver. Except for notices expressly required herein the Maker waives
presentment for payment, demand, notice of dishonor, protest and notice of protest of this
Note and all other notices in connection With delivery, acceptance, performance, default
or enforcement of the payment of this Note Liability hereunder shall be unconditional
and shall not be affected in any manner by an indulgence, extension of time, renewal,
waiver or modification granted or consented to by Payee

6. Notices and Payments

(a) All notices hereunder must be written Notices to the Maker shall
be deemed to be given when hand-delivered with a receipt, or mailed certified mail,
postage prepaid and return receipt requested, and addressed to Maker at 630 Skippack
Pike, Blue Bell, PA 19422, or to such other person or address as the Maker shall from
time to time designate by notice to the Payee at the address at which payments hereunder
are directed to be made

(b) Payments of principal shall be made to the Payee electronically by
allowing Payee to electronically draft the Monthly Payment from Maker’s bank account.

(c) Any payments or notices required herein which pursuant to the
terms of this Note shall be due on a Saturday, Sunday or federal government holiday shall
be considered timely if given or made on the next succeeding business day.

7. Late Fee. lf any payment or installment of principal due hereunder is not
paid within ten (10) days after the same becomes due (without reference to any grace or
cure periods set forth herein), then Maker shall pay to Payee a late charge in an amount
equal to five per cent (5%) for every dollar of the overdue sum, in order to reimburse
Payee for the costs and expenses of handling such delinquent payment. Neither the
imposition nor the collection of such late charge shall constitute Payee’s waiver of any
default or Event of Default of Maker hereunder, and shall be in addition to and not in lieu
of any other rights and remedies which may be available to Payee hereunder. Such late
charge, if not paid by Maker, shall, at the option of Payee, be added to and become part
of the outstanding principal balance of this Note.

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8. Governing Law. This Note shall be governed by the laws of the State of
New Jersey, Without giving effect to the principles of confiict of laws

9. Guaranty. This Note shall be guaranteed by Kenneth C. Morrison
pursuant to the terms of the Guaranty attached hereto.

IN WITNESS WHEREOF, and intending to be legally bound, the Maker has duly
executed this Note on the day and year first above written

ATTEST: SYCAMORE ENERGY-KC OIL, LLC

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Date: ,///“";:/jZ-e

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SYCAMORE PETROLEUl\/l-KC OIL, LLC, : CIVIL ACTION
SYCAMORE ENERGY-KC OIL, LLC and
STERLING FUELS & LOGISTICS, LLC,

Plaintiffs
NO. 15-CV-00396
v.

KC oiL, iNC., GREENwooD
ENTERPRISES, iNC., BUCKS COUNTY
PETRoLEUM, LLC, TRENTON
PETROLEUM, iNC., CREIGHTON
FAMILY PROPERTIES, L.P., JAN
CREIGHTON and KIMBERLY
CREIGHTON,

Defendants

 

CERTIFICA']_`E OF SERVICE
I, Peter E. Meltzer, hereby certify that on the below date, a true and correct copy of
Defendants’ Answer and Affirmative Defenses to Plaintiffs’ Second Amended Complaint and
Counterclaim was served via United States mail, First class, postage prepaid, and/or electronic mail,
on the following:

John L. Schweder, II, Esquire
Pepper Hamilton, LLP

3000 Two Logan Square
Eighteenth and Arch Streets
Philadelphia, PA 19103-2799
schwedei@pepperlaw.com

 

/s/Peter E. Meltzer
Dated: January 13, 2016 By:

 

PETER E. l\/IELTZER, ESQUIRE

